Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 1 of 39 PageID #: 11
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 2 of 39 PageID #: 12
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 3 of 39 PageID #: 13
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 4 of 39 PageID #: 14
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 5 of 39 PageID #: 15
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 6 of 39 PageID #: 16
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 7 of 39 PageID #: 17
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 8 of 39 PageID #: 18
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 9 of 39 PageID #: 19
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 10 of 39 PageID #: 20
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 11 of 39 PageID #: 21
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 12 of 39 PageID #: 22
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 13 of 39 PageID #: 23
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 14 of 39 PageID #: 24
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 15 of 39 PageID #: 25
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 16 of 39 PageID #: 26
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 17 of 39 PageID #: 27
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 18 of 39 PageID #: 28
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 19 of 39 PageID #: 29
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 20 of 39 PageID #: 30
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 21 of 39 PageID #: 31
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 22 of 39 PageID #: 32
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 23 of 39 PageID #: 33
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 24 of 39 PageID #: 34
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 25 of 39 PageID #: 35
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 26 of 39 PageID #: 36
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 27 of 39 PageID #: 37
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 28 of 39 PageID #: 38
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 29 of 39 PageID #: 39
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 30 of 39 PageID #: 40
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 31 of 39 PageID #: 41
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 32 of 39 PageID #: 42
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 33 of 39 PageID #: 43
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 34 of 39 PageID #: 44
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 35 of 39 PageID #: 45
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 36 of 39 PageID #: 46
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 37 of 39 PageID #: 47
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 38 of 39 PageID #: 48
Case: 4:22-cv-00648-HEA Doc. #: 1-1 Filed: 06/17/22 Page: 39 of 39 PageID #: 49
